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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
COMMITTEE FOR A CONSTRUCTIVE )
TOMORROW, et al.,                    )
                                     )
                         Plaintiffs, )
                                     )       Case No. 24-cv-00774 (LLA)
v.                                   )
                                     )       Hon. Loren L. AliKhan
UNITED STATES DEPARTMENT OF          )
THE INTERIOR, et al.,                )
                                     )
                         Defendants. )
____________________________________)

     DOMINION ENERGY VIRGINIA’S ANSWER TO FIRST AMENDED COMPLAINT

        In Answer to the First Amended Complaint (“Complaint”) filed by Plaintiffs in this

action (Dkt. 11), Defendant Virginia Electric and Power Company d/b/a Dominion Energy

Virginia (“DEV”), by and through its attorneys, respectfully states as follows, with the numbered

paragraphs herein corresponding to the numbered paragraphs of the Complaint:

        1.     DEV admits that the Bureau of Ocean Energy Management (“BOEM”) and the

National Marine Fisheries Service (“NMFS”) issued a Record of Decision (“ROD”) for the

Coastal Virginia Offshore Wind Commercial Project (“CVOW”) on October 31, 2023. The

remaining allegations in the first sentence of Paragraph 1 consist of Plaintiffs’ characterization of

their case, to which no response is required. DEV denies the remaining allegations in Paragraph

1.

        2.     DEV admits the allegations in the first sentence of Paragraph 2, except to state

that the CVOW lease area is approximately 27 miles off the coast of Virginia Beach. The

allegations in the second sentence of Paragraph 2 are vague and DEV is without knowledge or
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information sufficient to form a belief as to their truth, and therefore denies the allegations. DEV

denies the remaining allegations in Paragraph 2.

       3.      The allegations in Paragraph 3 are vague and DEV is without knowledge or

information sufficient to form a belief as to their truth, and therefore denies the allegations.

       4.      DEV admits that President Biden issued Executive Order 14008 on January 27,

2021. The remaining allegations in Paragraph 4 purport to characterize Executive Order 14008,

which speaks for itself and is the best evidence of its contents. To the extent a response is

required, DEV denies any allegation inconsistent with that document.

       5.      The allegations in Paragraph 5 purport to characterize a press release, which

speaks for itself and is the best evidence of its contents. To the extent a response is required,

DEV denies any allegation inconsistent with that document.

       6.      The allegations in Paragraph 6 purport to characterize a draft strategy document,

which speaks for itself and is the best evidence of its contents. To the extent a response is

required, DEV denies any allegation inconsistent with that document. DEV also is without

knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 6, and therefore denies the allegations.

       7.      DEV admits that the CVOW Biological Opinion issued by NMFS (“BiOp”)

authorizes only Level B temporary noise disturbance harassment of North Atlantic right whales

(“NARW”) and does not authorize Level A take of NARW. On information and belief, DEV

also admits that no other BiOp issued by NMFS for an offshore wind project authorizes Level A

take of NARW. The remaining allegations in Paragraph 7 are vague and DEV is without

knowledge or information sufficient to form a belief as to their truth, and therefore denies the

allegations.




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       8.       The allegations in Paragraph 8 are vague and DEV is without knowledge or

information sufficient to form a belief as to their truth, and therefore denies the allegations.

       9.       The allegations in Paragraph 9 are vague and DEV is without knowledge or

information sufficient to form a belief as to their truth, and therefore denies the allegations.

       10.      The allegations in Paragraph 10 are vague and DEV is without knowledge or

information sufficient to form a belief as to their truth, and therefore denies the allegations.

       11.      DEV denies the allegations in Paragraph 11.

       12.      The allegations in Paragraph 12 are vague and DEV is without knowledge or

information sufficient to form a belief as to their truth, and therefore denies the allegations. To

the allegations in the final sentence of Paragraph 12, DEV further responds that the Final

Environmental Impact Statement (“EIS”) and BiOp for CVOW comply with applicable law.

       13.      The allegations in the first sentence of Paragraph 13 are conclusions of law and

purport to characterize the National Environmental Policy Act (“NEPA”), which speaks for

itself. To the extent a response is required, DEV denies that Paragraph 13 completely and

accurately characterizes and describes NEPA, its implementing regulations, or case law, and

denies any allegations inconsistent with NEPA. DEV denies the remaining allegations in

Paragraph 13.

       14.      DEV admits that NMFS issued a BiOp that concluded its Endangered Species Act

(“ESA”) Section 7 consultation with BOEM for CVOW. The remaining allegations in Paragraph

14 are conclusions of law and purport to characterize the ESA, which speaks for itself. To the

extent a response is required, DEV denies that Paragraph 14 completely and accurately

characterizes and describes the ESA, its implementing regulations, and case law, and denies any

allegations inconsistent with the ESA.




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       15.     DEV admits the allegations in the first sentence of Paragraph 15. DEV denies the

remaining allegations in Paragraph 15.

       16.     DEV denies the allegations in Paragraph 16.

       17.     DEV denies the allegations in Paragraph 17.

       18.     DEV denies the allegations in Paragraph 18.

       19.     The allegations in Paragraph 19 consist of Plaintiffs’ characterization of their

case, to which no response is required. To the extent a response is required, DEV denies that

Plaintiffs are entitled to the relief they seek, or to any relief whatsoever, from this Court.

       20.     The allegations in Paragraph 20 consist of conclusions of law, to which no

response is required. To the extent a response is required, DEV denies the allegations.

       21.     DEV denies the allegations in Paragraph 21.

       22.     DEV denies the allegations in Paragraph 22.

       23.     The allegations in Paragraph 23 consist of conclusions of law, to which no

response is required. To the extent a response is required, DEV denies the allegations.

       24.     The allegations in Paragraph 24 are vague and DEV is without knowledge or

information sufficient to form a belief as to their truth, and therefore denies the allegations. DEV

further denies that Plaintiff CFACT or its members are harmed by CVOW, and denies that

Plaintiff CFACT or its members have standing to bring this lawsuit.

       25.     The allegations in Paragraph 25 are vague and DEV is without knowledge or

information sufficient to form a belief as to their truth, and therefore denies the allegations. DEV

further denies that Plaintiff Heartland Institute or its members are harmed by CVOW, and denies

that Plaintiff Heartland Institute or its members have standing to bring this lawsuit.




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        26.     The allegations in Paragraph 26 are vague and DEV is without knowledge or

information sufficient to form a belief as to their truth, and therefore denies the allegations. DEV

further denies that Plaintiff Craig Rucker is harmed by CVOW or has standing to bring this

lawsuit.

        27.     The allegations in Paragraph 27 are vague and DEV is without knowledge or

information sufficient to form a belief as to their truth, and therefore denies the allegations. DEV

further denies that Plaintiff National Legal and Policy Center or its members are harmed by

CVOW, and denies that Plaintiff National Legal and Policy Center or its members have standing

to bring this lawsuit.

        28.     The allegations in Paragraph 28 are vague and DEV is without knowledge or

information sufficient to form a belief as to their truth, and therefore denies the allegations. DEV

further denies that Plaintiff Peter Flaherty is harmed by CVOW and has standing to bring this

lawsuit.

        29.     DEV admits the allegations in Paragraph 29.

        30.     The allegations in Paragraph 30 are vague and DEV is without knowledge or

information sufficient to form a belief as to their truth, and therefore denies the allegations.

        31.     DEV admits the allegations in the first sentence of Paragraph 31. DEV further

admits the BOEM consulted with NMFS under the ESA, issued a ROD, and approved the

Construction and Operations Plan (“COP”) for CVOW, incorporating the BiOp’s terms and

conditions. The remaining allegations in the second, third, and fourth sentences of Paragraph 31

are vague and DEV is without knowledge or information sufficient to form a belief as to their

truth, and therefore denies the allegations. DEV denies the allegations in the final two sentences

of Paragraph 31.




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        32.     DEV admits the allegations in the first sentence of Paragraph 31. The remaining

allegations in Paragraph 32 are vague and DEV is without knowledge or information sufficient to

form a belief as to their truth, and therefore denies the allegations.

        33.     DEV admits that Gina Raimondo is Secretary of the U.S. Department of

Commerce, and that NMFS is an agency within that agency. The remaining allegations in

Paragraph 33 are vague and DEV is without knowledge or information sufficient to form a belief

as to their truth, and therefore denies the allegations.

        34.     DEV admits the allegations in the first and third sentences of Paragraph 34. The

remaining allegations in Paragraph 34 are vague and DEV is without knowledge or information

sufficient to form a belief as to their truth, and therefore denies the allegations.

        35.     DEV states that Janet Coit is the Assistant Administrator for National Oceanic

and Atmospheric Administration Fisheries. The remaining allegations in Paragraph 35 are vague

and DEV is without knowledge or information sufficient to form a belief as to their truth, and

therefore denies the allegations.

        36.     DEV admits that it is a regulated public utility headquartered in Richmond,

Virginia, that provides electricity to customers in Virginia and North Carolina. DEV denies that

it supplies electricity in South Carolina as alleged in the first sentence of Paragraph 36, denies

that it supplies natural gas in the states set forth in the first sentence of Paragraph 36, and denies

that it has generation facilities in the states set forth in the second sentence of Paragraph 36.

DEV admits the allegations in the third sentence of Paragraph 36.

        37.     DEV admits the allegations in Paragraph 37.

        38.     The allegations in Paragraph 38 are conclusions of law and purport to characterize

the Administrative Procedure Act (“APA”), which speaks for itself. To the extent a response is




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required, DEV denies that Paragraph 38 completely and accurately characterizes and describes

the APA, its implementing regulations, and case law, and denies any allegations inconsistent

with the cited statute.

        39.     The allegations in Paragraph 39 are conclusions of law and purport to characterize

the APA, which speaks for itself. To the extent a response is required, DEV denies that

Paragraph 39 completely and accurately characterizes and describes the APA, its implementing

regulations, and case law, and denies any allegations inconsistent with the cited statute.

        40.     The allegations in Paragraph 40 are conclusions of law and purport to characterize

NEPA and its implementing regulations, which speak for themselves. To the extent a response is

required, DEV denies that Paragraph 40 completely and accurately characterizes and describes

NEPA, its implementing regulations, and case law, and denies any allegations inconsistent with

the cited statutes or regulation.

        41.     The allegations in Paragraph 41 are conclusions of law and purport to characterize

NEPA, its implementing regulations, and case law, which speak for themselves. To the extent a

response is required, DEV denies that Paragraph 41 completely and accurately characterizes and

describes NEPA, its implementing regulations, and case law, and denies any allegations

inconsistent with the cited statute, regulation, or case law.

        42.     The allegations in Paragraph 42 are conclusions of law and purport to characterize

NEPA and its implementing regulations, which speak for themselves. To the extent a response is

required, DEV denies that Paragraph 42 completely and accurately characterizes and describes

NEPA, its implementing regulations, and case law, and denies any allegations inconsistent with

the cited regulations.




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       43.      The allegations in Paragraph 43 are conclusions of law and purport to characterize

the APA, NEPA, and NEPA’s implementing regulations, which speak for themselves. To the

extent a response is required, DEV denies that Paragraph 43 completely and accurately

characterizes and describes the APA or NEPA, their implementing regulations, and case law, and

denies any allegations inconsistent with the cited statute and regulation.

       44.      The allegations in Paragraph 44 are conclusions of law and purport to characterize

NEPA and case law, which speak for themselves. To the extent a response is required, DEV

denies that Paragraph 44 completely and accurately characterizes and describes NEPA, its

implementing regulations, and case law, and denies any allegations inconsistent with the cited

case law.

       45.      The allegations in Paragraph 45 are conclusions of law and purport to characterize

NEPA, its implementing regulations, and case law, which speak for themselves. To the extent a

response is required, DEV denies that Paragraph 45 completely and accurately characterizes and

describes NEPA, its implementing regulations, or case law, and denies any allegations

inconsistent with the cited statute, regulations, or case law.

       46.      The allegations in Paragraph 46 are conclusions of law and purport to characterize

the ESA, which speaks for itself. To the extent a response is required, DEV denies that

Paragraph 46 completely and accurately characterizes and describes the ESA, its implementing

regulations, or case law, and denies any allegations inconsistent with the cited statutes.

       47.      The allegations in Paragraph 47 are conclusions of law and purport to characterize

the ESA, which speaks for itself. To the extent a response is required, DEV denies that

Paragraph 47 completely and accurately characterizes and describes the ESA, its implementing

regulations, or case law, and denies any allegations inconsistent with the cited statute.




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       48.     The allegations in Paragraph 48 are conclusions of law and purport to characterize

the ESA, which speaks for itself. To the extent a response is required, DEV denies that

Paragraph 48 completely and accurately characterizes and describes the ESA, its implementing

regulations, or case law, and denies any allegations inconsistent with the cited statute.

       49.     The allegations in Paragraph 49 are conclusions of law and purport to characterize

the ESA, which speaks for itself. To the extent a response is required, DEV denies that

Paragraph 49 completely and accurately characterizes and describes the ESA, its implementing

regulations, or case law, and denies any allegations inconsistent with the cited statute.

       50.     DEV admits the allegations in the last sentence of Paragraph 50. The remaining

allegations in Paragraph 50 are conclusions of law and purport to characterize the ESA, which

speaks for itself. To the extent a response is required, DEV denies that Paragraph 50 completely

and accurately characterizes and describes the ESA, its implementing regulations, or case law,

and denies any allegations inconsistent with the cited statutes.

       51.     The allegations in Paragraph 51 are conclusions of law and purport to characterize

the ESA, which speaks for itself. To the extent a response is required, DEV denies that

Paragraph 51 completely and accurately characterizes and describes the ESA, its implementing

regulations, or case law, and denies any allegations inconsistent with the cited statutes.

       52.     The allegations in Paragraph 52 are conclusions of law and purport to characterize

the ESA, which speaks for itself. To the extent a response is required, DEV denies that

Paragraph 52 completely and accurately characterizes and describes the ESA, its implementing

regulations, or case law, and denies any allegations inconsistent with the cited statute.

       53.     The allegations in Paragraph 53 are conclusions of law and purport to characterize

the ESA, which speaks for itself. To the extent a response is required, DEV denies that




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Paragraph 53 completely and accurately characterizes and describes the ESA, its implementing

regulations, or case law, and denies any allegations inconsistent with the cited statutes.

       54.     The allegations in Paragraph 54 are conclusions of law and purport to characterize

the ESA and agency guidance (the ESA Section 7 Consultation Handbook, or “Handbook”),

which speak for themselves. To the extent a response is required, DEV denies that Paragraph 54

completely and accurately characterizes and describes the ESA, its implementing regulations,

guidance, or case law, and denies any allegations inconsistent with the cited Handbook.

       55.     The allegations in Paragraph 55 are conclusions of law and purport to characterize

the ESA, its implementing regulations, and Federal Register preamble text from a 1986 ESA

rulemaking, which speak for themselves. To the extent a response is required, DEV denies that

Paragraph 55 completely and accurately characterizes and describes the ESA, its implementing

regulations, or case law, and denies any allegations inconsistent with the cited regulation or

preamble.

       56.     The allegations in Paragraph 56 are conclusions of law and purport to characterize

the ESA and agency guidance (Handbook), which speak for themselves. To the extent a

response is required, DEV denies that Paragraph 56 completely and accurately characterizes and

describes the ESA, its implementing regulations, guidance, or case law, and denies any

allegations inconsistent with the cited statute or Handbook.

       57.     The allegations in Paragraph 57 are conclusions of law and purport to characterize

the ESA, which speaks for itself. To the extent a response is required, DEV denies that

Paragraph 57 completely and accurately characterizes and describes the ESA, its implementing

regulations, or case law, and denies any allegations inconsistent with the cited statute.




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        58.     The allegations in Paragraph 58 are conclusions of law and purport to characterize

the ESA and its implementing regulations, which speak for themselves. To the extent a response

is required, DEV denies that Paragraph 58 completely and accurately characterizes and describes

the ESA, its implementing regulations, or case law, and denies any allegations inconsistent with

the cited regulations. DEV specifically denies Plaintiffs’ allegation in the second sentence of

Paragraph 58 that, under 50 C.F.R. § 402.02, “[c]umulative effects include those of other federal

actions”, and specifically denies Plaintiffs’ impermissible attempt to graft that text onto the

actual regulatory text quoted in that sentence.

        59.     The allegations in Paragraph 59 are conclusions of law and purport to characterize

the ESA and its implementing regulations, which speak for themselves. To the extent a response

is required, DEV denies that Paragraph 59 completely and accurately characterizes and describes

the ESA, its implementing regulations, or case law, and denies any allegations inconsistent with

the cited statute or regulation.

        60.     The allegations in Paragraph 60 are conclusions of law and purport to characterize

the ESA, which speaks for itself. To the extent a response is required, DEV denies that

Paragraph 60 completely and accurately characterizes and describes the ESA, its implementing

regulations, or case law, and denies any allegations inconsistent with the cited statute.

        61.     The allegations in Paragraph 61 are conclusions of law and purport to characterize

the ESA and its implementing regulations, which speaks for themselves. To the extent a

response is required, DEV denies that Paragraph 61 completely and accurately characterizes and

describes the ESA, its implementing regulations, or case law, and denies any allegations

inconsistent with the cited statutes and regulation.




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       62.     The allegations in the first sentence of Paragraph 62 are conclusions of law and

purport to characterize the ESA, which speaks for itself. To the extent a response is required,

DEV denies that Paragraph 62 completely and accurately characterizes and describes the ESA,

its implementing regulations, or case law, and denies any allegations inconsistent with the cited

statute. Further, the allegations in the second sentence of Paragraph 62 consist of Plaintiffs’

characterization of their case, to which no response is required; to the extent a response is

required, DEV denies the allegations. The allegations in the third sentence of Paragraph 62 are

conclusions of law; to the extent a response is required, DEV denies the allegations.

       63.     DEV admits that President Biden issued Executive Order 14008 on January 27,

2021. The remaining allegations in Paragraph 63 purport to characterize Executive Order 14008,

which speaks for itself and is the best evidence of its contents. To the extent a response is

required, DEV denies any allegation inconsistent with that document.

       64.     DEV admits that CVOW is a federally approved offshore wind project. The

remaining allegations in Paragraph 64 are vague and purport to characterize an agency fact sheet

and the Final EIS, which speak for themselves and are the best evidence of their contents. To the

extent a response is required, DEV denies any allegation inconsistent with those documents.

       65.     DEV admits the allegations in Paragraph 65, except to state that the CVOW lease

area is approximately 27 miles off the coast of Virginia Beach, Virginia.

       66.     The allegations in Paragraph 66 purport to characterize NEPA, various draft or

final EISs, and various applications to NMFS, which speak for themselves. To the extent a

response is required, DEV denies that Paragraph 66 completely and accurately characterizes and

describes NEPA and the referenced documents, and denies any allegations inconsistent with

NEPA or those documents.




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       67.     DEV admits that NARW are a listed endangered species under the ESA. DEV

denies the allegations in the final sentence of Paragraph 67. The remaining allegations in

Paragraph 67 reference a map and various approvals, which speak for themselves, or are vague

and DEV is without knowledge or information sufficient to form a belief as to their truth, and

therefore denies the allegations.

       68.     DEV denies the allegations in Paragraph 68.

       69.     The allegations in Paragraph 69 purport to characterize a draft agency strategy

document, which speaks for itself. To the extent a response is required, DEV denies that

Paragraph 69 completely and accurately characterizes and describes that document, and denies

any allegations inconsistent with that document. DEV further responds that this document was

revised, finalized, and released on January 25, 2024.

       70.     DEV admits the allegations in Paragraph 70.

       71.     The allegations in Paragraph 71 purport to characterize a comment letter

submitted by certain Plaintiffs to BOEM, which speaks for itself. To the extent a response is

required, DEV denies the allegations, including the purported allegations in the comment letter.

DEV further disputes the sufficiency of Paragraph 71’s purported “incorpor[ation] . . . by

reference” of the comment letter into the Complaint.

       72.     DEV admits the allegations in Paragraph 72, except to further state that NMFS

and other relevant agencies provided all required concurrences on each of the referenced five

mitigation plans prior to commencement of pile-driving activities.

       73.     The allegations in Paragraph 73 purport to characterize the BiOp and COP, which

speak for themselves. To the extent a response is required, DEV denies that Paragraph 73




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completely and accurately characterizes and describes those documents, and denies any

allegations inconsistent with those documents.

       74.     The allegations in Paragraph 74 purport to characterize the BiOp, which speaks

for itself. To the extent a response is required, DEV denies that Paragraph 74 completely and

accurately characterizes and describes that document, and denies any allegations inconsistent

with that document.

       75.     DEV states that BOEM and NMFS issued a joint ROD dated October 30, 2023,

for CVOW based on the Final EIS.

       76.     The allegations in Paragraph 76 are conclusions of law, reference a notice

submitted by certain Plaintiffs, which speaks for itself, or are vague and DEV is without

knowledge or information sufficient to form a belief as to their truth. To the extent a response is

required, DEV denies the allegations.

       77.     DEV states that on January 28, 2024, BOEM issued its approval of the COP for

CVOW, and that the approval documents speaks for themselves.

       78.     DEV admits that on NMFS issued a Letter of Authorization (“LOA”) under the

Marine Mammal Protection Act effective February 5, 2024, for a five-year period, and states that

the LOA speaks for itself.

       79.     The allegations in Paragraph 79 are conclusions of law, reference a notice

submitted by certain Plaintiffs, which speaks for itself, or are vague and DEV is without

knowledge or information sufficient to form a belief as to their truth. To the extent a response is

required, DEV denies the allegations.

       80.     DEV admits that its counsel represented to counsel for Plaintiffs that DEV’s

planned start date for wind turbine generator foundation pile driving was no earlier than May 1,




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2024, consistent with public information already available to Plaintiffs for months in the COP,

Final EIS, BiOp, and other public documents, and consistent with the time of year when NARW

are expected to be absent near the CVOW lease area. DEV further responds that DEV’s counsel

represented to Plaintiffs’ counsel that DEV would obtain all required agency concurrences on

plans necessary to begin pile driving before doing so. DEV further responds that NMFS and

other relevant agencies provided all required concurrences on each of the referenced five

mitigation plans prior to commencement of pile-driving activities. DEV denies the remaining

allegations in Paragraph 80.

       81.     DEV incorporates in full by reference its answers to Paragraphs 1 through 80.

       82.     DEV denies the allegations in Paragraph 82.

       83.     The allegations in Paragraph 83 are conclusions of law and purport to characterize

NEPA and its implementing regulations, which speak for themselves. To the extent a response is

required, DEV denies that Paragraph 83 completely and accurately characterizes and describes

NEPA, its implementing regulations, and case law, and denies any allegations inconsistent with

the cited statute and regulations.

       84.     DEV denies the allegations in Paragraph 84.

       85.     DEV denies the allegations in Paragraph 85.

       86.     DEV incorporates in full by reference its answers to Paragraphs 1 through 85.

       87.     The allegations in Paragraph 87 are conclusions of law and purport to characterize

the ESA, which speaks for itself. To the extent a response is required, DEV denies that

Paragraph 87 completely and accurately characterizes and describes the ESA, its implementing

regulations, or case law, and denies any allegations inconsistent with the ESA.




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       88.     The allegations in Paragraph 88 purport to characterize the BiOp, which speaks

for itself. To the extent a response is required, DEV denies that Paragraph 88 completely and

accurately characterizes and describes the BiOp, and denies any allegations inconsistent with that

document.

       89.     The allegations in Paragraph 89 purport to characterize the BiOp, which speaks

for itself. To the extent a response is required, DEV denies that Paragraph 89 completely and

accurately characterizes and describes the BiOp, and denies any allegations inconsistent with that

document.

       90.     The allegations in Paragraph 90 purport to characterize the BiOp, which speaks

for itself. To the extent a response is required, DEV denies that Paragraph 90 completely and

accurately characterizes and describes the BiOp, and denies any allegations inconsistent with that

document.

       91.     DEV denies the allegations in Paragraph 91.

       92.     DEV denies the allegations in Paragraph 92.

       93.     DEV denies the allegations in Paragraph 93.

       94.     DEV denies the allegations in Paragraph 94.

       95.     DEV denies the allegations in Paragraph 95.

       96.     The allegations in Paragraph 96 are conclusions of law, reference notices

submitted by certain Plaintiffs, which speak for themselves, or are vague and DEV is without

knowledge or information sufficient to form a belief as to their truth. To the extent a response is

required, DEV denies the allegations, including the purported allegations in the notices.

       97.     DEV denies the allegations in Paragraph 97.

       98.     DEV incorporates by reference its answers to Paragraphs 1 through 97.




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           99.    The allegations in Paragraph 99 are conclusions of law and purport to characterize

the ESA and the BiOP, which speak for themselves. To the extent a response is required, DEV

denies that Paragraph 99 completely and accurately characterizes and describes the ESA, its

implementing regulations, case law, and the BiOp, and denies any allegations inconsistent with

the ESA and the BiOp.

           100.   DEV denies the allegations in Paragraph 100.

           101.   DEV denies the allegations in Paragraph 101.

           102.   DEV denies the allegations in Paragraph 102.

           103.   DEV incorporates in full by reference its answers to Paragraphs 1 through 102.

           104.   The allegations in Paragraph 104 are conclusions of law and purport to

characterize the APA, which speaks for itself. To the extent a response is required, DEV denies

that Paragraph 104 completely and accurately characterizes and describes the APA, its

implementing regulations, and case law, and denies any allegations inconsistent with the cited

statute.

           105.   The allegations in Paragraph 105 are conclusions of law and purport to

characterize the APA and case law, which speak for themselves. To the extent a response is

required, DEV denies that Paragraph 104 completely and accurately characterizes and describes

the APA, its implementing regulations, or case law, and denies any allegations inconsistent with

the cited statute and case law.

           106.   DEV denies the allegations in Paragraph 106.

           107.   DEV denies the allegations in Paragraph 107.

           108.   DEV denies the allegations in Paragraph 108.

           109.   DEV denies the allegations in Paragraph 109.




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       110.    DEV denies the allegations in Paragraph 110.

       The remainder of Plaintiffs’ Complaint consists of their prayer for relief, which requires

no response. To the extent a response is required, DEV denies that Plaintiffs are entitled to the

relief they seek, or to any relief whatsoever, from this Court.

                                      GENERAL DENIAL

       DEV denies each and every allegation in the Complaint that DEV has not expressly

admitted, specifically answered, or responded to herein.

                                  AFFIRMATIVE DEFENSES

       DEV reserves the right to raise any additional defenses in law or equity. At this time,

DEV specifically pleads the following affirmative defenses to the Complaint:

                                         FIRST DEFENSE

       The Court lacks subject matter jurisdiction over Plaintiffs’ claims.

                                       SECOND DEFENSE

       Plaintiffs’ claims are barred by lack of standing.

                                        THIRD DEFENSE

       Plaintiffs fail to state a claim upon which relief can be granted.

                                       FOURTH DEFENSE

       Plaintiffs’ claims are barred by lack of administrative finality.

                                         FIFTH DEFENSE

       Plaintiffs’ claims are barred by the doctrine of laches.

                                        SIXTH DEFENSE

       Plaintiffs’ claims are barred by the doctrine of estoppel.




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                                     SEVENTH DEFENSE

      Plaintiffs’ claims are barred by the doctrine of waiver.

                                      EIGHTH DEFENSE

      Plaintiffs’ claims are barred by their failure to exhaust administrative remedies.

                                       NINTH DEFENSE

      Plaintiffs’ claims are barred by failure to satisfy conditions precedent.

Dated: May 23, 2024                          Respectfully submitted,

                                               /s/ James M. Auslander
                                             JAMES M. AUSLANDER
                                             D.C. Bar No. 974898
                                             HILARY T. JACOBS
                                             D.C. Bar No. 1021353
                                             JULIUS M. REDD
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing Dominion Energy

Virginia’s Answer to First Amended Complaint has been served upon all counsel of record

through the CM/ECF electronic filing system on May 23, 2024.

                                            /s/ James M. Auslander
                                            JAMES M. AUSLANDER




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